           Case 1:07-vv-00889-CFL Document 179 Filed 03/07/14 Page 1 of 2




       IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

************************
DOUG PALUCK and RHONDA PALUCK *
as parents and natural guardians on behalf *                No. 07-889V
of their minor son, KARL PALUCK,           *                The Honorable Charles F. Lettow
                                           *                Special Master Christian J. Moran
                     Petitioners,          *
                                           *                Filed: February 11, 2014
v.                                         *
                                           *                Damages; decision based on
SECRETARY OF HEALTH                        *                proffer
AND HUMAN SERVICES,                        *
                                           *
                     Respondent.           *
************************

Sheila A. Bjorklund, Lommen Abdo Law Firm, Minneapolis, MN, for petitioners;
Alexis Babcock, United States Dep’t of Justice, Washington, DC, for respondent.

      PUBLISHED DECISION ON REMAND AWARDING DAMAGES1

       On December 21, 2007, Doug and Rhonda Paluck filed a petition alleging
that various vaccines harmed their son, Karl. They sought compensation through
the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa—10
through 34 (2012). After lengthy proceedings, the Court of Federal Claims found
that the Palucks established that the vaccines significantly aggravated a Karl’s pre-
existing mitochondrial disorder. The Court remanded the case for a determination
of damages to which the Palucks are entitled. 113 Fed. Cl. 210 (2013).

      After the Court’s Opinion and Order, the parties have worked very diligently
at quantifying the amount of compensation. Their progress was monitored through
periodic status conferences. This process led to an agreement as to the amount of
compensation.

       1
          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa–12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
           Case 1:07-vv-00889-CFL Document 179 Filed 03/07/14 Page 2 of 2




     On February 11, 2014, the Secretary submitted a proffer regarding the
amount of compensation. The Palucks have indicated that they do not object.

       Based upon the record as a whole, the undersigned finds that the amount
contained in the proffer is reasonable. The Clerk’s Office is instructed to enter
judgment in the amounts listed in the attached proffer (“Appendix A”), unless a
motion for review is filed.2 The Clerk’s Office is also instructed to provide a copy
of this decision to the presiding judge. Vaccine Rule 28.1(a).

IT IS SO ORDERED.

                                                  S/ Christian J. Moran
                                                  Christian J. Moran
                                                  Special Master




       2
         The Palucks have requested that specific amounts of compensation not be available to
the public. In accord with the Court’s comments during an oral argument on a motion for review
of an order denying a motion for redaction held on November 13, 2013, the Palucks’ proposed
redaction of this decision is GRANTED.
                                              2
